Case 21-03004-sgj Doc 31-6 Filed 05/21/21   Entered 05/21/21 17:56:21   Page 1 of 3




                               EXHIBIT 6
Case21-03004-sgj
Case 21-03003-sgjDoc
                 Doc31-6
                     1-3 Filed
                         Filed01/22/21
                               05/21/21 Entered
                                        Entered01/22/21
                                                05/21/2117:50:01
                                                         17:56:21 Page
                                                                  Page22of
                                                                         of33
Case21-03004-sgj
Case 21-03003-sgjDoc
                 Doc31-6
                     1-3 Filed
                         Filed01/22/21
                               05/21/21 Entered
                                        Entered01/22/21
                                                05/21/2117:50:01
                                                         17:56:21 Page
                                                                  Page33of
                                                                         of33
